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UNITED STATES DISTRICT COURT
WESTERN DISTRIC'I` OF TENNESSEE

 

MEMPHIS DIVISION
THG:M¢.S M Gou_n
US- Mcroocm

UNUM LIFE INSURANCE COMPANY ) W OF iN, \‘$EW~ES
OF AMERICA, )
)
Plaintiff, )
)

v. ) CASE NO. 05-2217-BV

)
CHARLES R. I-I_OLLAND, )
`)
Defendant. )

ORDER OF COMPROMISE AND DISMISSAL

The parties having announced to the court, by and through counsel, that all claims
between them in this matter have been compromised and settled, this action is hereby
DISMISSED, With prejudice, with each party to bear its own costs and attorney’s fees.

ENTER:

d J. Daniel Breen \
Unit d States District Judge

 

with Hule 58 and/or 79(&} FRCP on

 

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APPROVED FOR ENTRY:

WOOLF, McCLANE, BRIGHT,
ALLEN & CARPENTER, PLLC

Tony R. DaltolL,BPR No. 014312
Ashley M. Barrington, BPR No. 020800
900 Riverview Tower
900 S. Gay Street
P. O. Box 900
Knoxville, TN 37901-0900
(865) 215-1000
Attorneysfor Plaintijj” (L?VUM Life Insurance Company ofAmerica

 

 

 

Suite 305
Memphis, TN 38‘°3
Attorney for Defendant

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This notice confirms a copy of the document docketed as number 3 in
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Tony R. Dalton

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC
900 S. Gay St.

Ste. 900

KnoX\/ille7 TN 37902--181

Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview Tower

900 South Gay St.

KnoX\/ille7 TN 37902

Honorable J. Breen
US DISTRICT COURT

